  Case 5:20-cv-02332-JWH-KK Document 113-26 Filed 05/16/22 Page 1 of 10 Page ID
                                    #:2509

  From: Rajan Dhungana rdhungana@fedpractice.com
Subject: RE: Diaz v Heredia - Joint Stipulation RE Defendant's motion to compel
   Date: May 13, 2022 at 1:54 PM
     To: Diyari Vazquez dvazquez@vgcllp.com
    Cc: James Greeley jgreeley@vgcllp.com, Gina Simas gsimas@vgcllp.com, Erik Cox ECox@fedpractice.com, Eric Montalvo
         emontalvo@fedpractice.com, Cristina Lagarde clagarde@fedpractice.com


       Good afternoon Diyari,

       The redlined changes you indicated has been removed. Here is our latest version of
       revised joint stipulation. Please let Erik Cox or I know if there are any further changes or
       redlines. Please also note that I will not be available on Monday May 16, 2022 but the
       rest of my time including Erik Cox should be available to address any concerns you may
       have.

       Sincerely,




       From: Diyari Vazquez <dvazquez@vgcllp.com>
       Sent: Thursday, May 5, 2022 3:40 PM
       To: Rajan Dhungana <rdhungana@fedpractice.com>
       Cc: James Greeley <jgreeley@vgcllp.com>; Gina Simas <gsimas@vgcllp.com>; Erik
       Cox <ECox@fedpractice.com>; Eric Montalvo <emontalvo@fedpractice.com>; Cristina
       Lagarde <clagarde@fedpractice.com>
       Subject: Re: Diaz v Heredia - Joint Stipulation RE Defendant's motion to compel

       All,

       Attached is Diaz’s portion of the joint stipulation. Please note that, pursuant to my
       conversation with Erik, I have deleted in redline the objectionable language. Erik agreed
       to its removal since it is not necessary for this motion. Please provide the joint stipulation
       in its final form, as required by the Local Rules, for my signature prior to filing.

       Attached is also my final declaration with supporting exhibits.

       Thanks,

       Diyari

       —

       Diyari Vázquez l Head of Litigation & Employment
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                                  #:2510




       On May 4, 2022, at 9:16 AM, Diyari Vazquez <dvazquez@vgcllp.com> wrote:

       Rajan,

       We did not hear back from you and have now spent the time and effort to
       oppose the Joint Stipulation. As advised, we will be seeking sanctions for
       this unnecessary work that your client has created.

       Defendant’s portion of the Joint Stipulation includes inflammatory and
       unnecessary statements about Mr. Diaz’s private life, medical and mental
       health, which the Court has already ordered must be filed under seal. In an
       attempt to circumvent the Court’s order, Defendant has included those same
       statements in the Joint Stipulation. Please confirm that your office is
       preparing a motion to file those statements under seal and that those
       statements will be redacted in the unsealed Joint Stipulation.

       Diyari

       —

       Diyari Vázquez l Head of Litigation & Employment

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       Santa Monica, CA 90401
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       2510-2522).




                On May 2, 2022, at 6:38 PM, Diyari Vazquez
                <dvazquez@vgcllp.com> wrote:

                Rajan,
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            Rajan,

            Disagreeing with a proposal, not communicating that
            disagreement to us and refusing to respond to our repeated
            requests to resolve the purported issues comes nowhere close to
            qualifying as a “good faith” meet and confer, sincerely aimed to
            resolve or narrow the issues in dispute as the Rules require.
            Rather, it demonstrates a clear motivation to sandbag us, creates
             unnecessary work for the Court and continues Mr. Heredia's
            ongoing efforts to drive up fees and waste both our and the
            Court’s time. Simply put, the 365-page joint stipulation is replete
            with fabrication, and we urge you to reconsider this filing.

            In the RFAs, Mr. Heredia incomprehensibly defines “’Heredia
            Exhxxx,’ where ‘xxx’ is a three digit number refers to Ralph
            Heredia’s exhibits to his Motion for Judgment on the Pleadings
            filed in this action.” Yet the exhibits to that motion are labeled 1
            through 16. How is Mr. Diaz supposed to admit to the
            genuineness of “exhibits” that he cannot even locate? No
            attorney would allow a client to admit to the genuineness of
            documents to which there is any uncertainty, let alone complete
            confusion.

            Mr. Heredia then defines “’Exhibit xx,’ where ‘xx’ is a one- or two-
            digit number, as the case may be, refers to Joseph Diaz, Jr.’s
            exhibits submitted ‘In the Matter of the Arbitration of Contract
            Dispute Between MOSES HEREDIA, Manager, and JOSEPH
            DIAZ, JR., Boxer.’” This description is also incredibly vague and
            confusing. What’s more, citation to the purported record of what
            both the Presiding and Magistrates Judges have already ruled is
            a “separate contract arbitration proceeding,” without providing the
            actual documents, is wholly improper. Rule 36 requires that an
            RFA “be accompanied by a copy of the document unless it is, or
            has been, otherwise furnished or made available for inspection
            and copying” in the litigation. Mr. Heredia has not identified
            documents produced in this litigation that correspond to these
            RFAs.

            The simple solution to the RFA dispute is for Mr. Heredia to
            provide the documents that pertain to his RFAs. There is no need
            to involve the Court in that. During the meet and confer, we
            proposed that Mr. Heredia create a folder with the documents
            labeled by RFA number so that Mr. Heredia did not have to
            spend time redrafting the RFAs. Presumably, it would have taken
            your office a few minutes to gather these documents, as opposed
            to the 40 hours that you claim it took to prepare the joint
            stipulation. It is inconceivable why Mr. Heredia chose not to
            resolve this ambiguity in the simple manner that we suggested.

            As further showing of Mr. Heredia’s gamesmanship, Mr. Montalvo
            stated that your team would discuss internally our proposal, but
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            stated that your team would discuss internally our proposal, but
            we never heard back despite our follow up. Mr. Heredia’s refusal
            to provide the specific documents for which he seeks admissions
            can only be construed as an attempt to “trick” Mr. Diaz. The
            Magistrate will not allow such gamesmanship. And we will be
            seeking sanctions for having to oppose Mr. Heredia’s
            unreasonable and nonsensical position.

            As for Mr. Heredia’s argument that the RFAs must somehow be
            deemed admitted because supposedly the responses were one
            day late, and leaving aside the fact that Mr. Heredia failed to
            comply with Rule 36 in an apparent attempt to trick Mr. Diaz, Mr.
            Heredia has been unable to show any prejudice for this
            purported one day delay. In fact, Mr. Heredia then waited until
            April 11 to even bring up the purported tardiness of these
            responses. The case law is clear on this issue and it does not
            favor Mr. Heredia’s unsupported position.

            In terms of the RPDs, Mr. Heredia has misrepresented to the
            Court no less than 113 times that Mr. Diaz failed to provide
            written responses to the RPDs. That assertion is completely
            false. Mr. Diaz timely served written objections and responses on
            February 25, 2022. Mr. Heredia’s false representations to the
            Court, and failure to include Mr. Diaz’s objections and responses
            in the joint stipulation, violate the Local Rules, the law, and
            counsel’s duty of candor to the Court.

            We have been waiting since February 2, 2022 to finalize the
            protective order. When we asked to meet and confer over the
            filing of a motion for protective order so that we can move
            forward with this matter, Mr. Montalvo represented that your
            office would provide the joint stipulation two days after receiving
            our non-confidential production of documents. That production is
            now complete. Mr. Heredia has no basis to argue that it is not.
            Again, this is a case that arises from your client’s financial
            malfeasance. The majority of the records, which are financial
            records, are confidential. And we cannot trust your client to
            respect confidentiality given the history here. The simplest and
            easiest way for this to have been resolved would have been for
            you to execute the protective order, which, notably, Ms. Simas
            has requested you do no less than ten times for over three
            months. Moreover, the RFP responses plainly state that Plaintiff
            will produce documents once the protective order is executed. As
            such, any failure to receive Plaintiff’s complete production of
            documents is entirely your own doing.

            We once again ask that you work in good faith to meet and
            confer to attempt to resolve these issues—which are truly non-
            issues that your office has purposefully created in an attempt to
            gain some leverage in this and other litigation. Mr. Heredia will
            not succeed in his efforts. If Mr. Heredia does not withdraw his
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            not succeed in his efforts. If Mr. Heredia does not withdraw his
            severely deficient joint stipulation, we will be seeking sanctions
            for all the unnecessary work Mr. Heredia’s and counsel's
            gamesmanship, bad faith tactics and misrepresentations are
            creating.

            Please let me know by 10:00 a.m. PST tomorrow, May 3,
            2022, whether Mr. Heredia will withdraw the joint stipulation and
            actually work in good faith to resolve this matter.

            Diyari

            —

            Diyari Vázquez l Head of Litigation & Employment

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                     On May 2, 2022, at 2:14 PM, Rajan Dhungana
                     <rdhungana@fedpractice.com> wrote:

                     Good afternoon Ms. Vazquez,

                     You participated in a meet and confer clearly
                     labeled and received a detailed meet and confer
                     letter on April 11. Our refusal to agree is not lack
                     of good faith, but an unwillingness to
                     consider your positions compliant with your
                     discovery obligations – particularly as Plaintiff and
                     in light of your feigned acrimony over delay.

                     The joint stipulation itself contains a proposed
                     resolution. Your position that Mr. Diaz may
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                  resolution. Your position that Mr. Diaz may
                  properly withhold any production whatsoever
                  pending entry of an order protecting any
                  confidential documents, as highlighted in the
                  meet and confer and discussed on April 13, has
                  no basis in the rules. You specifically stated that
                  you would produce all discovery that was not
                  subject to a protective order. Your 85 page
                  production speaks for itself.

                  Please see the Word document of the joint
                  stipulation attached herein, for you to add your
                  input. The “bad faith” here is this lawsuit which
                  you know has no basis and yet persist in. Mr.
                  Heredia's compliance with the rules governing
                  resolution of discovery disputes. Your client must
                  do the same.

                  Sincerely,


                  <image001.png>

                  From: Diyari Vazquez <dvazquez@vgcllp.com>
                  Sent: Friday, April 29, 2022 12:38 PM
                  To: Rajan Dhungana <rdhungana@fedpractice.com>
                  Cc: James Greeley <jgreeley@vgcllp.com>; Gina
                  Simas <gsimas@vgcllp.com>; Erik Cox
                  <ECox@fedpractice.com>; Eric Montalvo
                  <emontalvo@fedpractice.com>; Cristina Lagarde
                  <clagarde@fedpractice.com>
                  Subject: Re: Diaz v Heredia - Joint Stipulation RE
                  Defendant's motion to compel


                  Rajan,


                  This comes as a complete surprise after what is a
                  clear failure by your office to properly meet
                  and confer. It appears that, rather than attempt in
                  good faith to resolve discovery disputes as the
                  Rules require, Defendants' only goal is to burden the
                  Court with unnecessary motion practice in an attempt
                  to somehow set Mr. Diaz up for sanctions. If Mr.
                  Heredia decides to move forward with filing of this
                  motion to compel, without having worked to narrow
                  the issues or even having responded to our
                  proposals to resolve any issues, we will be seeking
                  sanctions for having to oppose Mr. Heredia's bad
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                  sanctions for having to oppose Mr. Heredia's bad
                  faith tactics.


                  During our meet and confer call, we agreed that Mr.
                  Diaz would produce non-confidential documents and
                  your office would provide the protective order a
                  couple of days after our non-confidential production
                  so that we could produce confidential documents.
                  We have requested no fewer than 10 times that your
                  office provide us with the signed protective order.
                  The latest of those times was on April 20, 2022,
                  when I specifically stated “[o]nce we have finalized
                  the protective order, we will produce any confidential
                  documents.” Your office did not respond.


                  Defendants still have not provided the protective
                  order, even though on the phone (and in
                  Mr. Heredia's moving papers) you agreed that this
                  lawsuit involves confidential information. In
                  fact, amongst other things, this lawsuit involves
                  financial information that is confidential. Given
                  your client’s propensity to improperly publicize Mr.
                  Diaz’s private and confidential information,
                  a protective order is essential in this case. Rather
                  than providing the stipulation for a protective order as
                  we agreed, Mr. Heredia instead emailed this Joint
                  Stipulation asking the Court to unnecessarily spend
                  time and resources to resolve a dispute that does not
                  exist.


                  In addition, during our meet and confer call, I stated
                  that Mr. Diaz would supplement his responses to the
                  RFAs but we need the documents that Mr. Heredia is
                  referring to in the RFAs. Mr. Diaz cannot admit to the
                  genuineness of documents that have not been
                  provided in this litigation. I suggested that your office
                  create a folder and label each document by RFA
                  number so that we can be on the same page as to
                  the admissions that your client seeks. Mr. Montalvo
                  stated that your office would discuss internally and
                  get back to me. I followed up via email on April
                  20,2022. But never received a response. Instead,
                  you now provide a 353 page Joint Statement again
                  asking the Court to resolve a dispute that does not
                  exist.


                  If your office is refusing to work in good faith to
                  resolve these matters, which can easily be
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                  resolve these matters, which can easily be
                  resolved without Court intervention, please provide
                  the Word version of the Joint Stipulation. But rest
                  assured, this bad faith approach will not end well for
                  your clients.


                  Diyari

                  —

                  Diyari Vázquez l Head of Litigation & Employment

                  <image002.png>

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                           On Apr 29, 2022, at 10:07 AM, Rajan
                           Dhungana
                           <rdhungana@fedpractice.com> wrote:

                           Good morning Counsels,

                           Please see attached.
                           Enclosed is the Joint Stipulation RE
                           Defendant’s motion to compel further
                           responses to requests for production of
                           documents and requests for admissions,
                           as well as a request for sanctions in the
                           amount of $25,000.00.
                           If you need a word version of the
                           document, please let me know.
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                            Pursuant to Local Rule 37-2.2, please
                            return the executed joint stipulation to
                            our office via email within the time
                            permitted.

                            Sincerely,

                            <image001.png>

                            <2022.04.28 Exhibit A - MC Letter.pdf>
                            <2022.04.28 Joint Stipulation
                            Defendant's Sanction Motion.pdf>
                            <2022.04.28 ESM Declaration.pdf>

                     <2022.04.28 Joint Stipulation Defendant's Sanction Motion WORD
                     VERSION.docx>




      Joint Stip
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